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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     No. CR-S-05-0227 WBS
12                                                 AND RELATED CASES
                Plaintiff,                         CR-S-05-0095 MCE
13         v.                                      CR-S-04-0389 MCE
                                                   CR-S-04-0388 MCE
14                                                 CR-S-04-0387 MCE
     BENITO TOPETE and                             CR-S-04-0378 MCE
15   HECTOR MANRIQUEZ,                             CR-S-04-0379 MCE
                                                   CR-S-04-0377 MCE
16
               Defendants.                         ORDER OF RELATED CASE
17   ____________________________/
18         Examination of the above-entitled criminal actions reveals
19   that these actions are related within the meaning of Local Rule
20   83-123(a) (E.D. Cal. 1997).      The actions involve many of the same
21   defendants and are based on the same or similar claims, the same
22   property transaction or event, similar questions of fact and the
23   same questions of law, and would therefore entail a substantial
24   duplication of labor if heard by different judges.          Accordingly,
25   the assignment of the matters to the same judge is likely to
26   effect a substantial savings of judicial effort and is also
27   likely to be convenient for the parties.
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 1         The parties should be aware that relating the cases under
 2   Local Rule 83-123 merely has the result that all actions are
 3   assigned to the same judge; no consolidation of the actions are
 4   effected.    Under the regular practice of this court, related
 5   cases are generally assigned to the district judge to whom the
 6   first filed action was assigned.
 7         IT IS THEREFORE ORDERED that the actions denominated:
 8               CR-S-05-0227 WBS, USA v. Topete, et al.;
                 CR-S-05-0095 MCE, USA v. Hernandez, et al.;
 9               CR-S-04-0389 MCE, USA v. Ayala, et al.;
                 CR-S-04-0388 MCE, USA v. Ayala, et al.;
10               CR-S-04-0387 MCE, USA v. Rodriguez;
                 CR-S-04-0379 MCE, USA v. Mendez, et al.;
11               CR-S-04-0378 MCE, USA v. Ramirez, et al.; and
                 CR-S-04-0377 MCE, USA v. Solis, et al.
12
13   are reassigned to Judge Morrison C. England, Jr. for all further
14   proceedings, and any dates currently set in these reassigned
15   cases only are hereby VACATED.      The parties are referred to the
16   attached Order Requiring Joint Status Report.         Henceforth, the
17   caption on documents filed in the reassigned cases shall be shown
18   as:
19               CR-S-05-0227 MCE, USA v. Topete, et al.;
                 CR-S-05-0095 MCE, USA v. Hernandez, et al.;
20               CR-S-04-0389 MCE, USA v. Ayala, et al.;
                 CR-S-04-0388 MCE, USA v. Ayala, et al.;
21               CR-S-04-0387 MCE, USA v. Rodriguez;
                 CR-S-04-0379 MCE, USA v. Mendez, et al.;
22               CR-S-04-0378 MCE, USA v. Ramirez, et al.; and
                 CR-S-04-0377 MCE, USA v. Solis, et al.
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 1        IT IS FURTHER ORDERED that the Clerk of the Court make
 2   appropriate adjustment in the assignment of criminal cases to
 3   compensate for this reassignment.
 4        IT IS SO ORDERED.
 5   DATED: June 17, 2005
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 8                                    ___________________________________
                                      MORRISON C. ENGLAND, JR
 9                                    UNITED STATES DISTRICT JUDGE
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